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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                    Case No. 1:17-cv-23904-UU

 YERLING MARYURIS OLIVAS
 HERNANDEZ,

         Plaintiff,

 v.

 COSTA FINAL CLEANING LLC, et al.,

         Defendants.
                                                    /

                                               ORDER


         THIS CAUSE comes before the Court upon a sua sponte examination of the record.

         THE COURT has considered the pertinent portions of the record and is otherwise fully

 advised in the premises.

         On November 1, 2017, the Court issued its Scheduling Order, which set the deadline to

 file the Joint Planning and Scheduling Report on December 1, 2017. D.E. 7. To date, Plaintiff

 has not filed the Joint Planning and Scheduling Report. Accordingly, it is hereby

         ORDERED AND ADJUDGED that Plaintiff SHALL show good cause in writing by

 Thursday, December 7, 2017, as to why Plaintiff has not filed a Joint Report. Further, Plaintiff

 SHALL file a Joint Report by such date. Failure to comply with this Order will result in the

 dismissal of this action without further notice.

         DONE AND ORDERED in Chambers at Miami, Florida, this 5th day of December,

 2017.
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                                    ________________________________
                                    UNITED STATES DISTRICT JUDGE
 cc: counsel of record via cm/ecf
